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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

EMMANUEL C. GONZALEZ,                   §
                                        §
     Plaintiff,                         §
                                        §       Case No. 2:14-cv-0906
v.                                      §       Consolidated Lead Case
                                        §
INFOSTREAM GROUP, INC.,                 §       JURY DEMAND
                                        §
     Defendant.                         §
______________________________________________________________________________
NEW LIFE VENTURES, INC.                 §       Case No. 2:14-cv-0907
______________________________________________________________________________




                      PLAINTIFF’S MOTIONS IN LIMINE
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        Plaintiff Emmanuel C. Gonzalez (“Plaintiff” or “Gonzalez”) moves to preclude defendant

New Life Ventures, Inc. (“Defendant” or “NLV”) from presenting improper evidence and

argument at trial, so that trial properly encompasses only relevant, non-prejudicial and properly

and timely disclosed evidence and argument, as follows and as further supported by the

accompanying exhibits.

Motion in limine no. 1: to exclude evidence and argument of any ground of invalidity not
disclosed in defendant’s invalidity contentions.

        NLV may not be permitted to introduce evidence or argument regarding any ground of

invalidity not disclosed in their invalidity contentions, including any evidence or argument

regarding the HTML 4.01 specification, meta-tags, and library catalog cards. As the Court is

well aware, a party must both disclose and produce prior art references under P.R. 3-3 and 3-4.

Under the Court’s docket control order, the deadline to serve invalidity contentions and produced

accompanying documents was April 13, 2015.

        The above prior art references were never disclosed in NLV’s invalidity contentions

served on April 13, 2015. 1 Since that time, NLV has never moved to amend its invalidity

contentions to add the HTML 4.01 specification, meta-tags, or library card catalog references.

Nor were any of those references disclosed in any of NLV’s discovery disclosures, including its

initial disclosures, its initial and subsequent amendments to its interrogatory responses, and its

document production. Yet, meta-tags were referenced in certain ones of the references that the

invalidity contentions did disclose, and library card catalogs were known at least to counsel for

Tagged at the time the invalidity contentions were served. NLV’s election to simply adopt the

invalidity contentions filed by Tagged does not diminish the availability of meta-tags and library

1
  Defendant Tagged, Inc. served its invalidity contentions on Gonzalez on April 13, 2015, on behalf of Tagged
alone, and NLV did not separately serve invalidity contentions. Counsel for NLV sent an email to Plaintiff’s
counsel on April 30, 2015, confirming that it “adopts the invalidity disclosures made by Tagged under P.R. 3-3 and
3-4.”


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card catalog references early in the case, and NLV has provided no explanation for their failure

to timely disclose the references under the patent rules.

       Notwithstanding the failure to disclose any of the above references with its invalidity

contentions or as part of any other prior discovery, NLV included the HTML 4.01 specification,

meta-tags, and library card catalog references as theories of invalidity regarding the Gonzalez

Patents in its invalidity expert report. NLV’s expert report served on November 18, 2015 was

the first instance that NLV introduced invalidity theories based upon each of those prior art

references.

       Allowing NLV to introduce evidence or argument regarding invalidity theories not

disclosed in their invalidity contentions defeats the purpose of having patent local rules, which

“are designed to require parties to crystallize their theories of the case early in the litigation and

to adhere to those theories once they have been disclosed.” Atmel Corp. v. Info. Storage Devices,

Inc., 1998 WL 775115 at *2-3 (N.D. Cal. Nov. 5, 1998). Furthermore, this Court has rejected

attempts by defendants to inject new invalidity theories and prior art references in a nearly

identical situation. See L.C. Eldridge Sales Co., Ltd., et al. v. Azen Manufacturing Pte., Ltd., et

al., No. 6:11-cv-599, 2013 WL 7937026, at *2-5 (E.D. Tex. Oct. 11, 2013) (Schneider J.)

(denying Defendants’ motions for leave to amend invalidity contentions and granting Plaintiff’s

motion to strike portions of Defendants’ expert report that rely on untimely disclosed prior art

references and combinations).

       In similar vein to the Eldridge Sales matter, NLV’s attempt to inject new references into

the case at this late juncture and without leave of court heavily prejudices Gonzalez. NLV has

provided no explanation for why it could not have disclosed these prior art references with its

invalidity contentions or alternatively sought to amend its contentions much sooner, particularly




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given that at least meta-tags and library card catalogs were already known at the time the

invalidity contentions were served.

        With the late hour that the references were first disclosed (even in absence of the Court’s

rescheduled trial date), the failure of any reasonable explanation, and prejudice to Gonzalez,

NLV should not be allowed to introduce evidence or argument based thereon at trial.

Motion in limine no. 2: to exclude testimony and argument regarding the level of ordinary
skill in the art different from the level adopted by the court at claim construction.

        NLV may not be permitted to introduce testimony or argument regarding a level of

ordinary skill in the art different from the level of skill adopted by the Court in its Claim

Construction Order. (Dkt. 109 at 9). NLV did not oppose Gonzalez’s submission regarding the

appropriate level of skill in the art during claim construction briefing, as noted in the Court’s

Order. Id. Thus, the Court adopted Gonzalez’s proposal for the appropriate level of skill in the

art. Further, NLV filed an objection to the Court’s Order on October 5, 2015, where it objected

to several of the Court’s constructions. (Dkt. 112). Notably, NLV failed to object to the Court’s

adoption of the appropriate level of skill in the art.

        To the extent that NLV attempts to solicit testimony or argue that the level of ordinary

skill in the art is different from the level already adopted by the Court, NLV should be precluded

from doing so.

Motion in limine no. 3: to exclude expert testimony or argument on topics that NLV
provided no expert report.

        NLV’s experts should be precluded from introducing evidence, testimony, or argument

on topics for which NLV did not provide expert reports. Here, NLV has provided no rebuttal

damages expert report. And with respect to NLV’s rebuttal “infringement” report, NLV’s expert

provides no opinion as to why NLV does or does not infringe the Gonzalez Patents. Instead, Mr.




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 Manheim’s rebuttal report simply regurgitates his opinions from his invalidity expert report.2

 His purported rebuttal regarding infringement can hardly be characterized as such.

          Federal Rule of Civil Procedure 26(a)(2)(A) provides that “a party must disclose to the

 other parties the identity of any witness it may use at trial to present evidence under Federal Rule

 of Evidence 702, 703, or 705.” Fed. R. Civ. P. 26(a)(2)(A). Rule 26(a)(2)(B), in turn, generally

 requires that this disclosure be accompanied by a written report containing:

          (i)      a complete statement of all opinions the witness will express and the basis
                   and reasons for them;

          (ii)     the data or other information considered by the witness in forming them;

          ….

 Fed. R. Civ. P. 26(a)(2)(B) (emphasis added).

          The purpose of Rule 26(a)(2) is to eliminate surprise and provide the opposing party with

 enough information regarding the expert’s opinions and methodology to prepare efficiently for

 deposition, any pretrial motions and trial. Dahlberg v. MCT Transp., LLC, 571 Fed. Appx. 641,

 648 (10th Cir. 2014).

          It is indisputable that NLV never disclosed any expert on the issue of damages. And

 while NLV disclosed Mr. Manheim as an expert on the issue of infringement, NLV’s rebuttal

 infringement report contains no analysis or opinion directed to that issue and falls well short of

 the requirements in Rule 26(a)(2)(B). Because NLV has offered no expert opinion on the issues

 of infringement and damages, Gonzalez was unable to depose and cross-examine NLV’s expert

 on statements that do not exist. As such NLV should not be rewarded for its own decision to

 forego the benefits of providing an expert report under the rules and ambush Gonzalez with

 “expert” opinion during trial on those issues.

 2
  The inappropriate nature of NLV’s rebuttal infringement report is addressed further in Gonzalez’s briefing for its
 Motion to Strike. See Dkt Nos. 118 & 127.


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        As NLV has deliberately chosen to not offer any expert opinion or report on the issues of

 infringement and damages, it should be precluded from allowing its experts to present testimony

 or argument on these topics to the jury. See Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363,

 1376 n.4 (Fed. Cir. 2008) (“Conclusory expert reports, eleventh hour disclosures, and attempts to

 proffer expert testimony without compliance with Rule 26 violate both the rules and principles of

 discovery, and the obligations lawyers have to the court.         Exclusion and forfeiture are

 appropriate consequences to avoid repeated occurrences of such manipulation of the litigation

 process.”).

 Motion in limine no. 4: to exclude evidence and argument of witnesses not designated as
 experts, and who have not made requisite disclosures and reports of expert opinion, from
 testifying on matters other than non-expert fact matters within their actual knowledge.

        NLV may not properly call or examine percipient witnesses not identified and offered as

 experts regarding expert issues. NLV may not properly elicit expert testimony from any witness

 not timely and properly designated as an expert witness in this case, and/or who has not

 submitted requisite expert report, and/or does not have the requisite foundation from offering

 testimony as to facts not within his personal knowledge. See FRE 702(c) (“[Lay witness]

 testimony … limited to one that is … (c) not based on scientific, technical or other specialized

 knowledge within the scope of Rule 702.”).

        For example, NLV may not question Mr. Steven Pasternack, president of NLV, who is

 offered only as a percipient witness to describe any bases he may have regarding issues of

 infringement and validity of the Gonzalez Patents. While Mr. Pasternack may properly provide

 testimony regarding his personal knowledge of the NLV websites, he may not provide testimony

 or argument as to the ultimate legal issues of patent infringement, validity, and damages, which

 are squarely within the realm of expert opinion See Pandrol USA, LP v. Airboss Ry. Prods., Inc.,

 424 F.3d 1161, 1167 (Fed. Cir. 2005) (Upholding district court’s decision to reject an inventor’s


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 testimony on “claim construction and interpretation of the original [patent] application,” which

 constituted “expert opinion.”); Lucent Technologies, Inc. v. Gateway, Inc., 509 F. Supp. 2d 912,

 933 (S.D. Cal. 2007) (court holding that the inventor was not designated as an expert witness and

 thus could not offer opinions as to invalidity); Veritas Operating Corp. v. Microsoft Corp., 2:06-

 cv-00703, 2008 WL 657936, at *33 (W.D. Wash. Jan. 17, 2008) (court rejected plaintiff’s

 argument that its lay witness employee could testify regarding monetary damages because such

 testimony was not properly disclosed during discovery, the witness was not qualified to testify as

 an expert, and a lay witness may not offer an opinion on ultimate patent damages, including

 evidence of a reasonable royalty); AVM Techs., LLC v. Intel Corp., 927 F. Supp. 2d 139, 146 (D.

 Del. 2013) (barring lay witness testimony “as to what would have happened in a hypothetical

 negotiation” as it “would not be based on his personal knowledge.”).

        NLV has not designated Mr. Pasternak as an expert, and accordingly, was not asked to

 perform, nor has he performed the work or analyses required to offer expert testimony, including

 as to infringement, validity, and damages, nor has he submitted any expert report. He has not

 analyzed the Court’s claim construction or the patent-in-suit from the standpoint of a person of

 ordinary skill in the art. He has not evaluate whether any accused instrumentality or asserted

 prior art falls within the scope of the Court’s construction of the claims of the patent-in-suit. Nor

 has he performed any expert analysis with regard to Gonzalez’s damages expert report. In short,

 Mr. Pasternak’s background provides no basis for any opinion regarding infringement, validity

 or damages, and NLV has not provided any other evidence or explanation as to why he would be

 so qualified.

        As Mr. Pasternack was not designated as an expert and did not do the work to testify as

 an expert, any such questioning or testimony relating to his opinion on the issues of infringement




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 and validity of the Gonzalez Patents as well as on the issue of damages will be unhelpful and

 prejudicial. Further, allowing such testimony would simply circumvent the requirements of FRE

 701(c) and inject impermissible expert testimony. This is exactly the type of risk that FRE 701(c)

 was meant to eliminate regarding the attempts to “proffer[] an expert in lay witness clothing.”

 FRE 701 – 2000 Notes of Advisory Committee, ¶ 1. It would be confusing to the jury and

 prejudicial to Gonzalez if NLV was permitted to inject into the trial on-the-fly examination of

 witnesses not designated as experts on expert matters. See, e.g., F.R.E. 403.

        As such Gonzalez requests that the Court grant this motion, and order that NLV may not

 properly call or examine percipient witnesses not identified and offered as experts regarding

 expert issues. NLV may not properly elicit expert testimony from any witness not timely and

 properly designated as an expert witness in this case, and/or who has not submitted requisite

 expert report, and/or does not have the requisite foundation from offering testimony as to facts

 not within his personal knowledge.

 Motion in limine no. 5: to exclude evidence and argument regarding NLV’s defenses solely
 for the court to determine, including specifically subject matter eligibility.

        NLV should be precluded from offering witness testimony or argument respect to its

 defenses that are solely for the Court to determine. For instance, in his report, NLV expert Mr.

 Manheim purports to offer opinion and analysis of the Gonzalez Patents with respect to patent

 eligible subject matter under 35 U.S.C. § 101. As stated in Gonzalez’s briefing in its Daubert

 motion to strike NLV’s invalidity expert report, Mr. Manheim’s opinions regarding patentable

 subject matter amount to impermissible legal conclusions. It is well established that “allowing

 an expert to give his opinion on the legal conclusions to be drawn from the evidence both

 invades the court’s province and is irrelevant.” Owen v. Kerr-McGee Corp., 698 F.2d 236, 240

 (5th Cir. 1985); see also Tex. Peace Officers v. City of Dallas, 58 F.3d 635 (5th Cir. 1995).



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         As “the ultimate question of patent eligibility under § 101 is an issue of law,” BRCA1- &

 BRAC2-Based Hereitary Cancer Test Patent Litig. v. Ambry Genetics Corp., it is not an issue

 that will be tried to the jury; rather, the issue will be handled by the Court. 774 F.3d 755, 759

 (Fed. Cir. 2014). Accordingly, Mr. Manheim’s opinions and testimony on the issue are neither

 helpful nor admissible. Genband US LLC v. Metaswitch Networks Corp., No. 2:14-cv-33-JRG-

 RSP, (E.D. Tex. January 8, 2016) (Order on Motion to Strike) (Payne, J.) (finding an expert’s

 opinions on the issue of patentable subject matter under § 101 to be not helpful and inadmissible).

         And to the extent that expert opinion regarding patentable subject matter is unhelpful and

 inadmissible, so too is any lay witness testimony on the issue. Therefore, NLV should be

 precluded from offering any evidence or argument with respect to the patentable nature of the

 Gonzalez Patents under § 101.

 Motion in limine no. 6: to exclude examination and testimony of experts beyond the scope
 of their submitted expert report.

         The parties should be limited to examination and cross-examination of experts within the

 scope of their submitted report. For instance, Gonzalez anticipates that NLV will attempt to

 examine Gonzalez’s infringement expert, Dr. Ryan Garlick, regarding NLV’s invalidity theories

 related to the eBay website, meta-tags, and library card catalogs. Dr. Garlick’s infringement

 expert report addresses none of those references because, simply put, it is an infringement

 analysis directed specifically to the SugarDaddie.com website. Any questions regarding those

 references are inappropriate for Dr. Garlick. Rather, Dr. Daniel Engel’s, Gonzalez’s validity

 expert is the appropriate witness to direct those questions as he directly addresses and rebuts the

 applicability of the references in his rebuttal report.

         The testimony of expert witnesses is limited to the information contained in their expert

 reports. See nCube Corp. v. SeaChange Int’l, Inc., 809 F. Supp. 2d 337, 347 (D. Del. 2011)



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 (citing Honeywell Intern., Inc. v. Universal Avionics Sys. Corp., 289 F. Supp. 2d 493, 500 (D.

 Del. 2003) (excluding testimony about doctrine of equivalents because not contained in expert

 report)). This is consistent with the requirement in Rule 26(a)(2)(B) that an expert witness’s

 report contain “a complete statement of all opinions the witness will express and the basis and

 reasons for them ....” Fed. R. Civ. P. 26(a)(2)(B) (emphasis added).

         And while courts do not require “verbatim consistency with the report, but ... allow

 [ ] testimony which is consistent with the report and is a reasonable synthesis and/or elaboration

 of the opinions contained in the expert’s report,” Power Integrations, Inc. v. Fairchild

 Semiconductor Int'l, Inc., this leeway is inapplicable where an expert simply has not performed a

 given analysis to render an opinion, much less provide testimony. 585 F. Supp. 2d 568, 581 (D.

 Del. 2008).

         Beyond caselaw support, it simply makes little sense as to why an expert that submitted a

 report on patent infringement would be examined or crossed with questions related to patent

 damages or why a patent damages expert would similarly be examined or crossed with questions

 regarding invalidity. As such, Gonzalez requests that the parties excluded from examination, and

 experts be excluded from testifying as to topics outside the scope of their submitted expert

 report(s).

 Motion in limine no. 7: to exclude evidence, reference, and/or argument raising any claim
 construction issues or otherwise undermines the Court’s claim constructions.

         The parties should be precluded from offering any argument, testimony, evidence,

 reference, or suggestion that relates to or invokes claim construction issues or otherwise

 undermines or collaterally attacks the Court’s claim constructions, including, for example,

 presenting arguments or opinions inconsistent with the Court’s claim constructions, presenting

 arguments or opinions that have been rejected by the Court during claim construction (e.g., that



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 claims are indefinite), or presenting argument or testimony relating to the basis of the Court’s

 constructions.

        In its Claim Construction Order (Dkt. 109), this Court considered NLV’s arguments as to

 the alleged indefiniteness of many of the terms and claims at issue in this case. The Court

 rejected all of those arguments, and found none of the claims to be indefinite. Accordingly,

 NLV should be precluded from arguing that any claim is indefinite, and should likewise be

 precluded from making any arguments that are inconsistent with the Court’s claim construction,

 or from making any arguments that suggest the basis for any construction, as such arguments

 would lead to jury confusion. FRE 403.

 Motion in limine no. 8: to exclude reference, evidence, or argument in relation to the
 financial arrangement established between Gonzalez and his counsel and regarding the
 cost of litigation. [AGREED]

        The parties agree to be precluded from making or offering any references, evidence,

 testimony (including expert testimony), arguments regarding, or inquires attempting to elicit

 testimony regarding contingent fees, fees incurred by either party, the retention/fee agreements

 of any party’s counsel in this case, and any fees obtained or potentially obtained by counsel as a

 result of this case. FRE 401-403; CardSoft, Inc. v. Verifone Sys., Inc., 2:08-cv-98 (Dkt. 376 at 2)

 (E.D. Tex. Jun. 4, 2012) (Payne, J.) (preventing introduction of evidence, testimony, or reference

 to attorneys representing plaintiff on a contingent-fee basis). Introduction of such evidence is

 irrelevant and would be unfairly prejudicial. See also Rembrandt Wireless v. Samsung Elec.,

 2:13-cv-0213 (Dkt. 248 at 5) (E.D. Tex. Jan. 31, 2015) (Payne, J.) (granting similar MIL).

 Motion in limine no. 9: to exclude reference, evidence, and/or argument suggesting that
 Gonzalez is a “patent troll” (or the like) or discussing whether Gonzalez himself practices
 the invention.

        NLV should be precluded from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony regarding Gonzalez’s


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 status as a non-practicing individual that has been, and is, involved in patent lawsuits though he

 does not personally utilize the asserted patents. In particular, Gonzalez seeks an order prohibiting

 NLV from making derogatory, disparaging, and/or pejorative references to Gonzalez by, for

 example, using any of the following or similar terms: “patent troll,” “pirate,” “bounty hunter,”

 “privateer,” “bandit,” “paper patent,” “submarine patent,” “stick up,” “hold up,” “shakedown,”

 “playing the lawsuit lottery,” or “a person that doesn’t use the invention.” Such references,

 descriptions, statements, or arguments have no relevance to any claim or defense in this lawsuit.

 FRE 402.

        Moreover, the probative value – if any – of such statements, descriptions, references, or

 argument is substantially outweighed by the danger of unfair prejudice, confusion of the issues,

 and/or the risk of misleading the jury into resolving this case based on factors other than the

 evidence and the law. FRE 403. This Court routinely excludes the use of such terms before the

 jury in reference to a patent owner. See, e.g., Mobilemedia Ideas LLC v. HTC Corp., 2:10-cv-

 112 (Dkt. 377 at 3-4) (E.D. Tex. Apr. 24, 2013); SSL Services, LLC v. Citrix Systems, Inc., 2:08-

 cv-158 (Dkt. 219 at 3) (E.D. Tex., May 24, 2012).

 Motion in limine no. 10: to exclude reference, evidence, and/or argument suggesting that
 the PTO did not evaluate the Gonzalez Patents properly or sufficiently.

        NLV should be precluded from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony suggesting that the

 PTO – or its Examiners – are overburdened, incompetent, not qualified, or overlook references,

 as well as any reference to “bad” patents, a “broken” patent system, the need for patent reform,

 or any similar pejorative term. Any such discussion of the quality of the PTO’s examination

 process is irrelevant and may be unfairly prejudicial or distracting from the relevant standard.

 Such testimony also would constitute an improper attempt to undermine the presumption of



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 validity under 35 U.S.C. § 282, and the presumption that the PTO does its job properly. Superior

 Fireplace Co. v. Majestic Prods. Co., 270 F.3d 1358, 1367 n.1 (Fed. Cir. 2001). “Testimony

 about overwork . . . would be irrelevant speculation and would constitute an inappropriate attack

 on the Patent Office.” Applied Materials., Inc. v. Advanced Semiconductor Materials Am., Inc.,

 1995 U.S. Dist. LEXIS 22335, at *11 (N.D. Cal. Apr. 25, 1995); see also Fractus, S.A. v.

 Samsung Elecs. Co., 6:09-cv-203 (Dkt. 899 at 2) (E.D. Tex. Apr. 29, 2011) (precluding

 Defendants from belittling the competence of the PTO); Mass Engineered Design v. Ergotron,

 2:06-cv-272 (Dkt. 613 at 2) (E.D. Tex. Oct. 20, 2008) (granting similar motion); Rembrandt

 Wireless v. Samsung Elec., 2:13-cv-0213 (Dkt. No. 248 at 304) (E.D. Tex. Jan. 31, 2015) (Judge

 Payne) (same). Comments about unqualified, overworked and negligent examiners constitute

 “[i]nflammatory insinuations and incorrect statements,” and “their presentation to prejudice the

 jury is not condoned.” Novo Nordisk A/S v. Becton Dickinson & Co., 304 F.3d 1216, 1220 (Fed.

 Cir. 2002). They should be excluded under FRE 402, 403, and 602.

 Motion in limine no. 11: to exclude reference, evidence, and/or argument discussing
 Gonzalez’s decision to dismiss, abandon, or drop any claims during this or any action.

        NLV should be precluded from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony regarding the

 existence of prior claims or causes of action that have been dismissed, abandoned, or dropped by

 Gonzalez, including the fact that such claims or causes of actions were previously asserted but

 have been dismissed, abandoned, or dropped. FRE 401-403; Fractus, S.A. v. Samsung Elecs. Co.,

 Ltd., 6:09-cv-203 (Dkt. 899 at 1) (E.D. Tex. Apr. 7, 2011) (granting a nearly identical motion);

 EZ Dock, Inc. v. Shafer Sys. Inc., 2003 U.S. Dist. LEXIS 3634, at *37 (D. Minn. Mar. 8, 2003)

 (finding plaintiff’s “dismissal of certain claims has no relevance to the patent infringement claim




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 the jury must decide”). Gonzalez’ decision to drop claims during litigation to streamline the case,

 and in accordance with the rules and orders of the Court, is not relevant to the issues to be tried.

 Motion in limine no. 12: to exclude reference, evidence, and/or argument by NLV
 suggesting Gonzalez’s nationality which diminishes his rights or standing in any way.

        NLV should be precluded from any argument or solicitation of testimony suggesting that

 Gonzalez’ status as a foreign resident reduces or has any bearing whatsoever on his ability to

 seek protections under the United States patent laws, including but not limited to litigating in the

 Eastern District of Texas. Such argument and testimony is irrelevant to any issue in this case and

 may cause undue prejudice and juror confusion. FRE 401-403.

 Motion in limine no. 13: to exclude any reference, evidence, and/or argument to discussions
 of the parties’ settlement negotiations. [AGREED]

        The parties agree that they each shall be precluded from any references, evidence,

 testimony (including expert testimony), arguments regarding, or inquires attempting to elicit

 testimony regarding the settlement negotiations or settlement offers made or discussed between

 the parties to the litigation. FRE 408.

 Motion in limine no. 14: to exclude evidence, reference, and/or argument by NLV
 comparing the accused website to any prior art.

        NLV should be precluded from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony comparing the

 accused website to prior art, or otherwise comparing the prior art to Gonzalez’s infringement

 theories. It would be improper for NLV to argue that the accused website does not infringe

 merely because it (allegedly) practices the prior art. Zenith Elecs. Corp. v. PDI Comm. Sys., 522

 F.3d 1348, 1363 (Fed. Cir. 2008) (quoting Tate Access Floors, Inc. v. Interface Architectural

 Resources, Inc., 279 F.3d 1357, 1367 (Fed. Cir. 2002)) (no “practicing prior art” defense to

 literal infringement); Mobile Telecom. v. Sprint, 2:12-cv-0832 (Dkt. 372 at 2) (E.D. Tex. Nov. 5,



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 2014) (Gilstrap, J.) (granting motion to preclude defense of “practicing the prior art”).

 Comparisons of the prior art and the accused website have no relevance to any claim or defense

 in this case. FRE 402. Even if relevant, the probative value of any such matter would be greatly

 outweighed by the danger of unfair prejudice, confusion of the issues, and/or misleading the jury.

 FRE 403; see also SimpleAir v. Google, 2:14-cv-0011 (Dkt. 325) (E.D. Tex. Oct. 6, 2015)

 (Gilstrap J.) (granting motion prohibiting comparison of prior art to infringement theories, rather

 than to Court’s claim construction).

 Motion in limine no. 15: to exclude reference, evidence, and/or argument by NLV
 suggesting non-accused websites do not infringe.

        NLV should be precluded from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony suggesting that

 products, methods, websites, or parties not accused of infringement in this case do not infringe

 the patents-in-suit. That a given website or party is not accused of infringement in this case does

 not mean such products or parties do not infringe the patents-in-suit, and NLV should not be

 permitted to suggest otherwise to the jury. Such claims or comments are irrelevant to any issue

 in this case and are likely to cause jury confusion and therefore are inadmissible under FRE 401-

 403.

 Motion in limine no. 16: to exclude evidence, reference, and/or argument by NLV
 concerning inequitable conduct on the part of Gonzalez or his attorneys.

        NLV should be prohibited from any references, evidence, testimony (including expert

 testimony), arguments regarding, or inquires attempting to elicit testimony suggesting

 inequitable conduct on the part of Gonzalez and/or his attorneys. Inequitable conduct is not a

 defense as pled in this case, and would be prejudicial and confusing. FRE 401-403; Genband v.

 Metaswitch Networks, 2:14-cv-033 (Dkt. 370 at 8) (E.D. Tex. Sept. 30, 2015) (granting similar

 motion).


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 Motion in limine no. 17: to exclude references or argument by NLV discussing any
 Gonzalez defendants or Gonzalez’s litigation strategy.

        NLV should be precluded from introducing references or argument relating to litigation

 targets of Gonzalez, or the failure of Gonzalez to file suit against any particular entity; comments

 concerning litigation strategy on the part of Gonzalez and his counsel. Such references or

 comments are irrelevant to any issue in this case and are likely to cause jury confusion and

 therefore are inadmissible under FRE 401-403.

 Motion in limine no. 18: to exclude reference or argument by NLV comparing settlement
 amounts to costs of defense .

        NLV should be precluded from introducing references or argument relating to the prior

 Gonzalez settlement agreements in association with relative costs of defense.            Any such

 references or comments are irrelevant to any issue in this case, are highly prejudicial, and are

 likely to cause jury confusion and therefore are inadmissible under FRE 401-403.

 Dated: January 21, 2016                           Respectfully submitted,

                                                     /s/ M. Scott Fuller
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                                                   ATTORNEYS FOR PLAINTIFF
                                                   EMMANUEL C. GONZALEZ



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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system on January 21, 2016.


                                                /s/ M. Scott Fuller
                                               M. Scott Fuller



                            CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that a conference was conducted with counsel for

 Defendant New Life concerning the subject matter of the above Motions in limine, and counsel

 for New Life expressed agreement for Motions 8 and 13, and remains opposed to the remaining

 disputed Motions.



                                               /s/ M. Scott Fuller




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